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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

PETER SHEFMAN,

               Plaintiff,                             Case Number 18-11477
v.                                                    Honorable David M. Lawson
                                                      Magistrate Judge Anthony P. Patti
AMERICAN AIRLINES, INC.,

            Defendant.
_____________________________________/

       ORDER WITHDRAWING REFERENCE AND DIRECTING DEFENDANT
                      TO ANSWER COMPLAINT

       On May 9, 2018, plaintiff Peter Shefman filed his pro se complaint and application to

proceed in forma pauperis in this matter. On May 11, 2018, the Court approved the plaintiff’s

application to proceed in forma pauperis and referred this case to Magistrate Judge Anthony P. Patti

for general case management. On June 25, 2018, attorney Danielle Cadoret filed an appearance on

behalf of the plaintiff. The Court therefore finds that good cause exists to withdraw the reference

to the magistrate judge. See 28 U.S.C. § 636(c)(4).

       On July 10, 2018, the defendant filed a motion to dismiss. The motion will be scheduled for

a hearing in due course. Under Federal Rule of Civil Procedure 12(a)(4), the Court may set a time

for serving an answer when a motion has been served under Federal Rule of Civil Procedure 12. See

Fed. R. Civ. P. 12(a)(4) (“Unless the court sets a different time, serving a motion under this rule

alters these periods as follows. . . ”); Hill v. Blue Cross and Blue Shield of Michigan, 237 F.R.D.

613, 617 (E.D. Mich. 2006) (“[T]his Court recognizes that Rule 12(a)(4) also provides that a court

may order an answer to be filed at a time other than after the motion to dismiss has been denied or

the court has postponed consideration of the motion.”) (citing Fed. R. Civ. P. 12(a)(4)) (emphasis

in original). The Court therefore will direct the defendant to file an answer to the complaint.
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       Accordingly, it is ORDERED that the order referring this matter to Magistrate Judge

Anthony P. Patti for general case management [dkt. #6] is VACATED.

       It is further ORDERED that the defendant must file an answer to the complaint on or before

July 31, 2018.


                                                                  s/David M. Lawson
                                                                  DAVID M. LAWSON
                                                                  United States District Judge

Dated: July 17, 2018

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on July 17, 2018.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI




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